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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO.: 20-cv-60056
  VIRGINIA ALDANA ALASTRA,
                 Plaintiff,
  v.
  BCA FINANCIAL SERVICES, INC.,
  SOUTH BROWARD HOSPITAL DISTRICT
  d/b/a MEMORIAL HEALTHCARE SYSTEM,


                 Defendants.
           _______________________________________/

                  DEFENDANT SOUTH BROWARD HOSPITAL DISTRICT
                      D/B/A MEMORIAL HEALTHCARE SYSTEM’S
                                     REPLY
                      AS TO MOTION FOR SUMMARY JUDGMENT

           Comes Now, Defendant SOUTH BROWARD HOSPITAL DISTRICT d/b/a MEMORIAL

  HEALTHCARE SYSTEM (“Memorial”), through undersigned counsel, pursuant to Fed. R. Civ.

  P. 56, files this Reply to the Response filed, October 26, 2020, by Plaintiff. Memorial states in

  reply:

           1.    Florida Consumer Collection Practices Act (FCCPA). No argument was provided

  by Plaintiff in opposition to recognizing that Sovereign Immunity applies to the state law --

  FCCPA claim (Count 1)1. As a pendant state law claim, this court must apply the substantive law

  of the State of Florida in deciding the application of Sovereign Immunity. The court is not to use

  the 11th Amendment analysis which is applicable to the TCPA claim and is further discussed and

  replied to below.


  1
   The Response starts off stating that it is focused on the denial of the MSJ as to Sovereign
  Immunity under the TCPA. (Pages 1-2 DOC. 67.) Defendant is not able to locate any Response
  addressed to the FCCPA.
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          There is no court decision (Federal or State) that addresses the issue of Sovereign Immunity

  for the FCCPA; so this is a question of first impression. Under Florida substantive law, it would

  be recognized as follows: (a) Just like Federal law discussed below, Florida law recognizes the

  “modern presumption” that the use of the word “person” in a statute, excludes the government

  unless stated otherwise. See, Williams v. Sch. Bd. of Palm Beach Cty, 770 So. 2d 706, 707 (Fla.

  4th DCA, 2000), and (2) that waiver of Sovereign Immunity in Florida, “cannot be found by

  inference or implication, and statutes waiving sovereign immunity must be strictly construed.”

  See, Fla. Dep't of Transp. v. Schwefringhaus, 188 So. 3d 840, 846 (Fla. 2016). In both instances,

  this court should readily find that under Florida substantive law there has not been a waiver of

  Sovereign Immunity as to the FCCPA by the Florida Legislature. And under Florida substantive

  law, Memorial is considered a governmental entity entitled to Sovereign Immunity. See, Lee v.

  South Broward Hosp. Dist., 473 So. 2d 1322 (Fla 4th DCA, 1985); see also, LaRiviere v. S.

  Broward Hosp. Dist., 889 So. 2d 972, 974 (4th DCA, 2004); see also, Villa Maria Nursing &

  Rehab. Ctr., Inc. v. S. Broward Hosp. Dist., 8 So. 3d 1167, 1172 (Fla. 4th DCA, 2009)(Memorial

  recognized as a governmental sovereign in connection with a subrogation claim.) Therefore,

  Memorial is entitled to absolute Sovereign Immunity from suit.

          2.         Telephone Consumer Protection Act (TCPA). There are two primary areas of legal

  inquiry when this Court examines the applicability of Sovereign Immunity to a State created entity.

  The first area of inquiry is to examine the statute and determine if it contains any indications or

  statement of waiver of Sovereign Immunity.       The Response does not address this prong of the

  analysis at all.

          The second area of inquiry is whether Memorial can be considered “an arm of the state.”

  The Response does address this area of inquiry and recognizes that over the course of the



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  development of this juris prudence a four factor test has developed to determine if a state created

  entity should be deemed “an arm of the state.”

                    a.      How Florida Law Defines Defendant? / Memorial is explicitly regarded as

  municipality by the State of Florida. This criteria is an examination of how does the State of

  Florida defines Memorial for purposes of whether it considers Memorial “an arm of the state” or

  as is currently described by courts --- a state agent or state instrumentality. See, Shands Teaching

  Hosp. and Clinics, Inc. v. Beech St. Corp., 208 F.3d 1308, 1311 (11th Cir.2000)(Acknowledged

  as Abrogated on other grounds Lake v. Skelton, 840 F.3d 1334, 1337 (11th Cir. 2016); see Farrell

  v. Woodham, No. 2:01-CV-417-FTM29DNF, 2002 WL 32107645, at *2 (M.D. Fla. May 29,

  2002). This analysis is to be conducted primarily with reference to Florida law. See, Mt. Healthy

  City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 280, 97 S. Ct. 568, 572, 50 L. Ed. 2d 471

  (1977) As Defendant acknowledged in the Motion for Summary Judgment – “if it is a county or

  municipality under Florida law, then 11th Amendment immunity would not apply to it since it

  would not be considered a state instrumentality.” (Motion for Summary Judgment ECF No. 45,

  page 9)

            Plaintiff’s primary argument relies on a statement that; “In fact, the state explicitly provides

  that Defendant shall be treated as a municipality. See Sections 189.403(1) and (3), Florida

  Statutes.” Defendant has tried to locate any current statutes with such citation. Defendant was not

  able to.2

            Actually this typo is quite instructive and quite illustrative of the position of Florida law

  on the subject. Defendant would acknowledge that the definition of “special district” as contained




  2
   Defendant did try by email with Plaintiff as to whether this was a typo. Plaintiff indicated that
  she stands by those cites.
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  in Chapter 189, Florida Statutes, did for a period of time contain the language indicated by

  Plaintiff. However, under Florida Law this situation has dramatically changed.

         First, this statutory definition section has been moved from section 189.403 to section

  189.012, Florida Statutes. See, Chapter 2014-22, Florida Statutes. So section 189.403, Florida

  Statutes is now numbered 189.012, Florida Statutes.

         Second, this Legislative renumbering in 2014, also contains a very substantive amendment

  to the definition of “special district”. Besides renumbering the definition to 189.012(6) (formerly

  189.403(1), it deletes the language which is support for Plaintiff’s argument. The following is the

  amendatory text from Chapter 2014-22, Florida Statutes:

         (6)(1) “Special district” means a local unit of local government created for a of
         special purpose, as opposed to a general purpose general-purpose, which has
         jurisdiction to operate government within a limited geographic boundary and is,
         created by general law, special act, local ordinance, or by rule of the Governor
         and Cabinet. The special purpose or purposes of special districts are implemented
         by specialized functions and related prescribed powers. For the purpose of s.
         196.199(1), special districts shall be treated as municipalities. The term does not
         include a school district, a community college district, a special improvement
         district created pursuant to s. 285.17, a municipal service taxing or benefit unit as
         specified in s. 125.01, or a board which provides electrical service and which is a
         political subdivision of a municipality or is part of a municipality. FL LEGIS
         2014-22, 2014 Fla. Sess. Law Serv. Ch. 2014-22 (C.S.C.S.C.S.S.B. 1632)
         (WEST) (highlight added)


         “Where the legislature amends a statute and in so doing omits a portion of it, common

  sense dictates that the legislature intended to remove that portion of the statute from the law.”

  Bacon v. Marden, 518 So. 2d 925, 926 (3rd DCA, 1987); Gunite Works, Inc. v. Lovett, 392 So.2d

  910 (Fla. 1st DCA 1980). Clearly, the legislature intended to not have the definition of special

  district include any concept or acknowledgment that a special district is comparable to or

  considered a municipality.



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         The other argument in Reply to this definitional argument of Plaintiff --is to examine the

  definition of “person” contained in the TCPA. Plaintiff’s argument concedes that Memorial is a

  governmental entity of some label. Whether it is deemed a municipality or not is immaterial as to

  whether sovereign immunity has been waived at all by the US Congress for any governmental

  entity. It has become well settled that the TPCA does not apply to the Federal Government or any

  of its contracted vendors. Barr v. Am. Ass'n of Political Consultants, Inc, 140 S. Ct. 2335 fn. 1,

  2344, 207 L. Ed. 2d 784 (2020) The legal logic which justifies this recognition of Federal

  Sovereign Immunity, relies upon reviewing the definition of “person”, i.e. 47 USC §153(39). Then

  applying what has been characterized as a “modern presumption ” --- that the word

  “person” excludes the government unless stated otherwise. In the Matter of Rules & Regulations

  Implementing the Tel. Consumer Prot. Act of 1991 Broadnet Teleservices LLC Nat'l Employment

  Network Ass'n Rti Int'l, 31 F.C.C. Rcd. 7394 (2016)

         The issue of whether this “modern presumption” naturally should include any

  governmental entity, including local government entities, does not seem decided at the Federal

  appellate level. In Florida, there is a decision in the Federal Middle District which finds:

          Conspicuously absent from this definition of “person” is any mention of
         governmental entities, let alone a phrase that may reasonably be construed as
         encapsulating a sovereign. Accordingly, the Court is led to the inevitable
         conclusion that governmental entities fall outside the ambit of the TCPA’s cause
         of action.
         Lambert v. Seminole Cty. Sch. Bd., No. 6:15-CV-78-ORL-18DAB, 2016 WL
         9453806, at *3 (M.D. Fla. Jan. 21, 2016)


  A similar finding by this Court, would comport with the “modern presumption” and what Florida

  Law would find in its courts. Williams v. Sch. Bd. of Palm Beach Cty, 770 So. 2d 706, 707 (Fla.

  4th DCA, 2000)



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                    b.      The Degree of Florida’s Control over Defendant? / Memorial is financially
  independent, supports itself with revenues generated through its commercial financial-services
  activities, is statutorily vested with and in fact exercises control over its commercially generated
  revenues.


          This criteria is not negative to Memorial at all as Plaintiff suggests. The fact that an entity

  which is a state instrumentality makes profit does not alter its public character. Fouche v. Jekyll

  Island-State Park Auth., 713 F.2d 1518, 1521 (11th Cir. 1983) For example, the Fouche Court

  recognized that the state instrumentality, Park authority, at issue in that proceeding, “supports itself

  through the operation of a golf course, hotels, restaurants, and other park facilities.” Id. In addition,

  the Fouche Court recognized that the Park Authority’s efforts and activities were geographically

  limited and concentrated on Jekyll Island State Park. Id.

          The Fouche Court also dealt with the issue of issuance of bonds issue raised by Plaintiff.

  The Fouche Court recognized the facts that: (1) the Park Authority may independently issue bonds

  and (2) there may be no liability for those bonds issued by the Park Authority’s parent – State of

  Georgia, does not impede a finding in favor of Sovereign Immunity’s application. Fouche v. Jekyll

  Island-State Park Auth., 713 F.2d at 1521.

                   Lastly, Plaintiff’s argument in this area fails to recognize the reality of a hospital

  authority as state instrumentalities. Hospital Authorities are organized and created by States to

  build and operate the physical plant, acquire the human capital and organize all under a

  professional management structure as a health care system. The public purpose they are promoting

  for their respective states is the delivery of healthcare, including commercial, governmental and

  indigent care.    Under Florida law in section 189.012(5), Florida Statutes, it is specifically

  recognized that “health system and facilities” are “public facilities” which special districts could

  provide. The Fouche court had little trouble recognizing that hospital authorities, similarly



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  organized and operated, as Memorial could be entitled to Sovereign Immunity. See, Fouche v.

  Jekyll Island-State Park Auth., 713 F.2d at 1522 citing Medical Center Hospital Authority v.

  Andrews, 250 Ga. 424, 297 S.E.2d 28 (Ga.1982). Contrary to Plaintiff’s suggestion, there really

  should be no question that Memorial, as a special taxing district uses all of its funds to support the

  distinct State governmental mission and public purpose of providing a healthcare system, facilities,

  services and programs as a safety-net hospital to residents of the State of Florida.

               c.      Where are Defendant’s Funds Are Derived? / Receipt of funds from
  Medicaid, Medicare, DSH or LIP programs does not constitute state funding.


         Plaintiff’s argument is essentially a request to acknowledge that receipt of Medicare,

  Medicaid, DSH and LIP funds should be treated no differently than the receipt of funding from

  private sources. (Response Page 5-6 ECF No. 67) Plaintiff misses the point of Memorial’s

  argument on this factor. Memorial acknowledges that it derives significant revenue from private

  sources. Memorial cited to the Thornquest v. King, 626 F.Supp. 486, 491-492 (M.D. 1985) and

  Souto v. Fla. Int’l Univ. Found, Inc., 446 F.Supp.3d 983, 994 (S.D. Fla. 2020) for the proposition

  that the entity can derive the majority of revenue (and perhaps all) from sources other than

  governmental programs and still satisfy this criteria.

         The Thornquest and Souto courts recognized that as long as the instrumentality utilizes all

  its sources of revenue to support the public purpose of its State parent then this factor can be

  determined in favor of the instrumentality entity. The Thornquest Court stated the fact that while

  community colleges serve “a distinctly local function,” it is recognized that they also serve

  important statewide postsecondary educational functions. Id at 491-492. Both Thornquest and

  Souto recognize that the construction, organization and operation of the underlying capital, human

  and professional management resources to bring forth the “system”, e.g. hospital, college, deep



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  water port, airport authority, etc., is itself a sufficient State public purpose. The fact that significant

  private revenues are used to create these public goods and systems is not an impediment to finding

  that they are State instrumentalities.

                 d.      Whether or not Memorial’s use of private funds as charity care is
  considered significant enough to qualify it as an arm of the state is a genuine issue of fact that
  has to be proven.

          Plaintiff wants to make an issue of the amount of charity care that Memorial is providing.

  She acknowledges that Memorial has expended in Fiscal Year, 2019-2020, $199,991,000 in

  charity care. (ECF 66, Pg. 3, ¶ 6.) Plaintiff raises essentially three arguments under this section.

          First, she objects to the Financial Statements (ECF No. 44-2) on evidentiary grounds. The

  financial statement prepared by Memorial is a public record. A record that Memorial is required

  to prepare and post on line pursuant to law. See, §§ 112.63, 218.32, and 189.016(9), Fla. Stat. As

  a public entity, these financial statements are public records Memorial is under a legal duty to

  report. Therefore, the financial statements (ECF No. 44-2) are considered admissible evidence as

  public records under Federal Rule of Evidence 803(8).

          Second, Plaintiff wants to contest the significance of the amount of charity and indigent

  care supplied in relation to the entire $2 Billion of revenue generated by Memorial. This is just

  argument. Having testimony is not going to change the numbers. This Court can make the legal

  determination based on these undisputed facts.

          Lastly, the Plaintiff then cites as to how Memorial is factually distinct from the entity under

  scrutiny in the Souto case. The Plaintiff tries to assert that these factual distinctions do not entitle

  Memorial to the same recognition of private funds revenue generation that the Souto entity was

  entitled to.   That is the point of the four factor test developed for this question. The range of

  configurations of governmental entities presented to the federal courts for sovereign immunity



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  recognition -- is a wide range of structures. As part of the revenue analysis factor, the fact a

  governmental entity presented to the court derives a substantial part, if not all, its revenue from

  private sources does not prohibit a favorable finding. See, Souto, supra, Fouche, supra.

                 e.      Judgment in favor of Plaintiff would not be paid from state funds.

        Plaintiff’s argument on this factor demonstrates the de minus nature of it in this analysis.

  She acknowledges that the damages for the claim involved in this proceeding could not exceed

  $9,500. Assuming attorney’s fees do not exceed that amount, certainly well under the Florida

  Statute 768.28 sovereign immunity waiver of the first $200,0003. Yes, Memorial will certainly

  pay any judgement or settlement from this proceeding out of current funds.          Federal District,

  Senior Judge Moreno when reviewing this factor in connection with a favorable decision to

  recognize sovereign immunity as to a TPCA claim for the Oklahoma Student Loan Authority

  reasoned as follows:

         In a similar case, the Eleventh Circuit held that a self-supporting entity qualifies
         as an arm of the state where “a judgment would be paid out of current
         funds.” Fouche, 713 F.2d at 1521

         Abellard v. Oklahoma Student Loan Auth., No. 17-62064-CIV, 2018 WL 654462,
         at *3 (S.D. Fla. Jan. 29, 2018), appeal dismissed, No. 18-10920-C, 2018 WL
         3017409 (11th Cir. May 11, 2018)(emphasis supplied)

         IN CONCLUSION, Memorial is an instrumentality of the State of Florida. Its public

  purpose is to create the sophisticated infrastructure of a modern healthcare system. Memorial is

  created by the Florida Legislature and the Florida Governor has full appointment and removal

  power over the Memorial Board. There is no question that Memorial is a governmental entity and

  would be entitled to Sovereign Immunity in the courts in the State of Florida.




  3
   Although Memorial is not conceding that a TPCA claim, is one brought in tort to which the
  waiver would apply.
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           For the FCCPA claim, Plaintiff made no responsive argument. The FCCPA is examined

   under the Florida State court’s application of Florida law. Not the 11th Amendment rubric which

   is used for the Federal statute, i.e. TCPA. Under Florida law, the FCCPA does not include

   governmental entities with in the definition of “person.” Also, there is no other “clear and

   unmistakable” indication of waiver of Sovereign Immunity elsewhere in the FCCPA.

           As to the TCPA, Plaintiff has conceded there is no explicit waiver of Sovereign Immunity

   in the act itself.   There is also little need to engage in much more analysis for this claim then a

   review of the definition of “person” applicable to the TCPA. As an undisputed governmental entity

   (regardless of label), Memorial is not a person subject to the TPCA.

           In addition, Plaintiff challenges Memorial’s “arm of the state” or “state instrumentality”

   status. Memorial is nothing if but a creature of its parents the Florida Legislature and Florida

   Governor. Those are the governing authorities which decide “the continuing existence or

   dissolution of a district, the appropriate future role and focus of a district, . . .” See, 189.068(1),

   Fla. Stat.   A significant public service and pubic purpose is being served by Memorial at the

   State’s behest. Under the law of the State of Florida, i.e. Chapter 189, Florida Statutes, Memorial

   as an independent special taxing district is subject to oversight and accountability by only its

   parents the Florida Legislature and Governor.

           WHEREFORE, Memorial hereby request that the Court enter summary judgment granting

   the Motion against Plaintiff as to all counts of the Complaint.




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